8:01-cr-00130-LES-TDT    Doc # 118   Filed: 10/03/08   Page 1 of 2 - Page ID # 214



               IN THE UNITED STATES DISTRICT COURT FOR THE

                            DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                    8:01CR130
                              )
          v.                  )
                              )
CARLTON BROWN,                )                        ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to reduce sentence (Filing No. 110), and the stipulation of the

parties (Filing No. 111) that the defendant is entitled to a two-

level reduction of his base offense level pursuant to the

retroactive amendments to the crack cocaine guidelines adopted in

November of 2007.       The probation office has prepared a

retroactive sentencing worksheet which advises that the defendant

is not entitled to this reduction.          This is premised upon the

amount of cocaine for which probation found the defendant should

be held responsible.       However, the Court in reviewing the

sentencing hearing finds that the amounts of crack and powder

cocaine for which defendant should be held responsible does not

prevent him from receiving the benefits of the amendments to the

crack cocaine guidelines; and the Court will approve and adopt

the stipulation and find that the defendant’s final offense level

should be reduced from 35 to 33 and his guideline sentence should

be reduced to 235 to 293 months imprisonment.
8:01-cr-00130-LES-TDT   Doc # 118   Filed: 10/03/08   Page 2 of 2 - Page ID # 215



           In view of the fact that defendant has previously

received a fifty per cent (50%) reduction of sentence pursuant to

Rule 35 of the Federal Rules of Criminal Procedure, the Court

finds that defendant’s sentence under the amendment guidelines

should be one hundred eighteen (118) months.            Accordingly,

           IT IS ORDERED that said motion is granted and the

stipulation of the parties is approved and adopted; the sentence

of the defendant is reduced to a term of one hundred eighteen

(118) months.     He shall receive credit for all time served.               The

conditions of supervised release entered in the original judgment

and committal order remain in full force and effect.

           DATED this 3rd day of October, 2008.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
